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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISIONt

 JUSTIN GUY, individually and on
 behalf of those similarly situated,

       Plaintiff,
 v.                                          Case No. 20-cv-12734-MAG-EAS
                                             HON. MARK A. GOLDSMITH
 ABSOPURE WATER COMPANY, LLC
 a domestic limited liability company,

      Defendant.
 __________________________________________________________________
      DEFENDANT’S SUPPLEMENT MEMORANDUM IN RESPONSE TO
          COURT’S ORDER ON THE JURY’S ROLE RELATIVE TO
         THE MOTOR CARRIERS ACT EXEMPTION (DKT. NO. 197)

       NOW COMES Defendant Absopure Water Company. LLC (“Absopure”), by

 and through its attorneys, CUMMINGS, MCCLOREY, DAVIS & ACHO, PLC, by

 RONALD G. ACHO and MICHAEL O. CUMMINGS, and pursuant to the Court’s

 direction hereby submits its Supplemental Memorandum On Proposed Jury

 Instructions for the Motor Carriers Act Exemption.

       During trial on December 12, 2023, the Court indicated that there should be

 questions for the jury regarding the Motor Carriers Act exemption at the level of

 objective facts. Accordingly, Absopure hereby submits a set of proposed jury

 questions for the verdict form regarding the MCA exemption:



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       Do you find from a preponderance of the evidence:

       1.    When Absopure places orders for products with Mountain Valley, who

 decides the amounts, types, and weight of products to be delivered?

                     _______     YES

                     _______     NO

       2.    When Absopure places orders for products with Mountain Valley, who

 decides where those products will be delivered?

             _______      ABSOPURE

             _______      MOUNTAIN VALLEY

             _______      TRUCKING COMPANY (J.B. HUNT OR OTHER)

       3.    After Absopure places an order for products with Mountain Valley,

 does Mountain Valley relay to the trucking company when Absopure’s order will be

 ready for pickup?

                     _______     YES

                     _______     NO

       4.    After Absopure places an order for products with Mountain Valley,

 does Mountain Valley relay the trucking company the weight for the order and the

 destination for delivery of the order that Absopure told to Mountain Valley?

                     _______     YES

                                          2
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                    _______     NO

       5.    Does Mountain Valley have a contract with J.B. Hunt for J.B. Hunt to

 provide Mountain Valley with a dedicated fleet of trucks to deliver products to

 Mountain Valley’s customers?

                    _______     YES

                    _______     NO

       6.    Is Mountain Valley required to only use J.B. Hunt as the trucking

 company to deliver products to its customers.

                    _______     YES

                    _______     NO

       7.    Do other trucking companies besides J.B. Hunt deliver products to

 Mountain Valley’s customers?

                    _______     YES

                    _______     NO

       8.    Has Absopure used another trucking company besides J.B. Hunt to

 deliver Mountain Valley products from Arkansas to Michigan?

                    _______     YES

                    _______     NO

       9.    Who has the final say on which trucking company will transport

 Absopure’s order of products from Mountain Valley to Absopure?

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                    _______     ABSOPURE

                    _______     MOUNTAIN VALLEY

                    _______     THE TRUCKING COMPANY (J.B. HUNT,

                                WHITELINE, OTHER)


       10.   Who owns the products that Absopure has ordered from Mountain

 Valley after those products are loaded onto trucks in Arkansas for delivery to

 Michigan?

                    _______     ABSOPURE

                    _______     MOUNTAIN VALLEY

                    _______     THE TRUCKING COMPANY

       11.   Who determines the route from Arkansas to Michigan that the trucks

 will take when Absopure’s order is transported from Arkansas to Michigan?

                    _______     ABSOPURE

                    _______     MOUNTAIN VALLEY

                    _______     THE TRUCKING COMPANY

       12.   Does Absopure pay for the cost of shipping the products it orders from

 Mountain Valley?

                    _______     YES

                    _______     NO



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       13.    Are the products that Absopure orders from Mountain Valley in

 Arkansas delivered by Absopure to its customers in Michigan by Absopure Sales

 and Service Specialists?

                     _______      YES

                     _______      NO

       14.    Does Absopure electronically record the amount and types of all

 products that it receives in its warehouse from Mountain Valley?

                     _______      YES

                     _______      NO

       15.    Does Absopure track the length of time Mountain Valley products are

 stored in its warehouse before being delivered to its customers?

                     _______      YES

                     _______      NO

       16.    Does Absopure have a procedure to ensure that the earliest Mountain

 Valley products received in its warehouse are the first products to be delivered to its

 customers in Michigan?

                     _______      YES

                     _______      NO




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       17.    What is the average amount of time that Mountain Valley products stay

 in Absopure’s warehouse from the time they are received to the time they are

 delivered to Absopure’s customers?

                    _________

       18.    Does Absopure electronically record and store the amount and types of

 all Mountain Valley products that are taken from its warehouse and loaded on to

 Absopure’s trucks for sale to its customers?

                    _______       YES

                    _______       NO

       19.    Does Absopure electronically record all sales of Mountain Valley

 Products to its customers by means of handheld devices carried by each of its Sales

 and Service Specialists that electronically record all sales, including the amount and

 types of products, to Absopure’s customers?

                    _______       YES

                    _______       NO

       20.    Does Absopure make decisions on what Mountain Valley products to

 order based on its projections of customer demand for how much product its

 customers’ will need?

                    _______       YES

                    _______       NO

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       21.   How many times did each Plaintiff drive a vehicle weighing 10,000

 pounds or less each month on average?

                   _______     John Aniol

                   _______     Aaron Armstead

                   _______     Lucas Belonga

                   _______     Keith Brown

                   _______     Dannielle Childs

                   _______     Justin Guy

                   _______     Anthony Newkirk

                   _______     Paul Okimoto

                   _______     Terry Pemberton

                   _______     Charles Perry

                   _______     Ryan Rhodes

                   _______     David Sujkowski

                   _______     Tampa Jordan

                   _______     Kyle Winconek



 Respectfully submitted,

 Dated: December 13, 2023

  s/ Ronald G. Acho                          /s/ Michael O. Cummings
  Ronald G. Acho                             Michael O. Cummings
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                          LOCAL RULE CERTIFICATION

       I, Michael O. Cummings, certify that this document complies with Local Rule

 5.1(a), including: double-spaced (except for quoted materials and footnotes); at least

 one- inch margins on the top, sides, and bottom; consecutive page numbering; and

 type size of all text and footnotes that is no smaller than 10-1/2 characters per inch

 (for non-proportional fonts) or 14 point (for proportional fonts). I also certify that it

 is the appropriate length. Local Rule 7.1(d)(3).

 Dated: December 13, 2023

                                   /s/ Michael O. Cummings
                                   Michael O. Cummings
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                                   Attorneys for Defendants
                                   1185 Avenue of The Americas, Third Floor
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                            CERTIFICATE OF SERVICE

        I hereby certify that on December 13, 2023, I electronically filed the foregoing

  paper with the Clerk of the Court using the ECF system, which will send notification

  to all parties of record. I hereby certify that I have mailed by United States Postal

  Service the paper to the following non-ECF participants: None.

  Dated: December 13, 2023

                                  /s/ Michael O. Cummings
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